    Q                           Case 6:19-cv-01071-AA                Document 29       Filed 10/21/19      Page 1 of 6

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    ~    : C.-S.-S.-C.-P.-S.-G.-P. FLAG OF TIDS DOCUMENT-POSTAL-VESSEL-COURT-VENUE.

    ~                                                 [: IN THE UNITED STATES DISTRICT COURT:]
    ~                             [: WITH THE DISTRICT OF OREGON: FOR THE EUGENE-DIVISION:]
    Q
                                                                                                           : James-Brent: Alvarez.
    ~                                                                                                      : c/o 30924 Kenady Ln.
    Q                                                                                           : Cottage Grove, Oregon [97424].
                                                                                                          : Phone-971-279-9755.
    Q                                                                                          : For the [re]cording of the calls.
    ~                                                                                           : James-Brent: Alvarez is Pro-Per.
    Q
                                                         [: Written in the common-language to assist:].
    Q
    Q    [: Plaintiff: James-Brent: Alvarez:]                                  CV No. 6:19-cv-01071-AA
    Q
                                                        Plaintiff,            [: [MO]TION FOR THE SECOND-
    Q                                                                            LEAVE TO AMEND COMPLAINT
    Q                                           Vs.                               PURSUANT TO FRCP 15(b):].
    Q     [: University of Oregon, an Oregon                                  [: UP-DATED MOTION WITH
    Q     Municipality; U. of 0. Police Department,                              UP-DATED COMPLAINT:].
          An Oregon Municipality; Luke Sitts, an
    Q
          individual, Scott Geeting, an individual;
    ~   . Geri Brooks, an individual; Steven Barrett,
    ~     ah individual; Mathew Carmicheal, an
          individual; Micheal H. Schill, an individual,
    Q
    ~                                                   [De]fondants.
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    ~    Complaint Page- I
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                Case 6:19-cv-01071-AA           Document 29        Filed 10/21/19      Page 3 of 6
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    0                                      [: LR 7-1 CERTIFICATION:]
    Q
                [: In compliance with Local Rule 7-1, plaintiff certifies that on October, 18, 2019, plaintiff
    0   contacted counsel for the defendants by telephone, and had a brief conversation about the motion.
    0   Counsel for defendants, were going to call claimant back about being opposed or [un]opposed about
        this updated motion and complaint:].
    Q
    0                                          [: LR 7-2 CERIFICATION:]
    0          [: This memorandum complies with the applicable page limitation in LR 7-2(b) because it
    0   does not exceed 35 pages, including headings, footnotes, and quotations, and excluding the caption,
    0   table of contents, table of cases and authorities, signature block, exhibits, and any cerificates of
        counsel.
    Q
    Q                                              [: MOTION:]:
    Q
                [: Plaintiff motions the court for the leave to amend the complaint a second-time. For the
    Q   plaintiff's-motion for the leave to amend the complaint is with the furtherance of Justice, and leave
    0   to amend should be freely given when justice so requires. Plaintiff is not an attorney, and errors are
        to be expected, and ambiguities should be resolved in favour of allowing amendments unless it
    Q
        appears that privilege will be abused. Furthermore, leave to amend the complaint should be allowed
    0   as the district court posses' the authority to recommend to a plaintiff how he or she might reshape
    Q   the complaint to escape dismissal under FRCP 15(b). See Rodriguez v. Doral Mortgage Crop 57F
        3d. 1168, 1174, is• Circuit (1995):].
    0
    Q           [: Plaintiff wasn't able to finish his complaint and motion in support in time, and realized
        (after speaking with counsel for the defendants ~7-October-2019) there were still facts to be·
    Q
        pleaded to show support for the claims. Plaintiff contacted counsel for the defendants by phone and
    Q   emailed the updated motion and complaint~ 15-October-2019 as offered and requested. Plaintiff
    ~   was still waiting to hear back if they are opposed or not with the updated complaint, and so
        contacted counsel by telephone ~ 18-October-2019. Plaintiff is doing his best to save the parties
    Q   involved the energy, monies, and time involved to resolve this matter:].
    0
    Q          [: The amended-complaint includes facts for the showing of the further discrimination for
        the support of the 18 USC 2333(a):].
    Q
    ~          [: The amended-complaint includes facts for the further proof of the conspiracy for the
        support of the 42 USC 1985 & 1986:].
    0
    ~           [: The amended-complaint has had the introduction and further facts added for the
    ~   supporting of the entire complaint. The claims have been adjusted to a reflect a more accurate
        number of the damages, with the further proving at trial, and the charging sections now include all
    Q   the facts with the correct claims for the damages amount:].
    Q
                [: As of the date: ~17-October-2019, the claimant has still not been provided with of the
    Q
        evidence of the former-claims by the UOPD, with the including of the body-dash-cameras footage
    Q   for the [dis ]covery of the facts. There may be more UOPD-personal involved in the matter.
    Q   Claimant is [un]sure for the lack of having all the facts. However, he has done the best he could
        given the circumstances, and is presenting the following complaint for the court:].
    0
    0          [: With the courts granting of this motion for the leave to amend pursuant with FRCP 15(b)
I   0   Complaint Page-2
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    fj
             will allow for the Justice so desired, and the plaintiff prays for the granting of the motion by the
    ~        court:] .

    ••                                         : CERTIFICATE OF SERVICE:


       ••          [: I hereby certify that I served the foregoing Plaintiffs' Motion for the Leave to Amend with
             the memorandum in support on the council for the defendants:]:


        ••   Namoi Levelle Haslitt, OSB No. 075857
             Ivan Resendiz Gutierrez, OSB No. 154617
             MILLER NASH GRAHAM & DUNN LLP
    5        3400 U.S. Bancorp Tower


    6-
       •     111 S.W. Fifth Tower
             Portland, Oregon 97204
             Telephone: 503.224.5858
         s   Fax: 503.-224.0155

        ••          Attorneys ~for Defendants
                    University of Oregon, et al.

    ~
         •   : By the following indicated method or methods on the date set forth below:
             : Certified-mail with return receipt for the proof of the [de]livery.
      ••     : CM#: ~l"l. $CAO 000 l ~':ft:IS 3396
             :Dated: ~18-October-2019.
                                                JS[e.
                                                                  /\
                                                        .v'I\ '. /-.\~vCCC-"l. •
     ••      : Autograph and S e a l ~ -
             : James-Brent: Alvarez.
             : Pro Per.

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